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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO


 Civil Action No.: 1:13-cv-02894-SKC
 JASON BROOKS,

       Plaintiff,

 v.

 COLORADO DEPARTMENT OF CORRECTIONS,


       Defendant.

                        FINAL JURY INSTRUCTIONS




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                       INSTRUCTION NO. 1
               INTRODUCTION TO FINAL INSTRUCTIONS

 Members of the Jury:

       In any jury trial there are, in effect, two judges. I am one of the judges,
 you are the other. I am the judge of the law. You are the judges of the facts. I
 presided over the trial and decided what evidence was proper for your
 consideration. It is also my duty at the end of the trial to explain to you the
 rules of law that you must follow and apply in arriving at your verdict.

        In explaining the rules of law that you must follow, first, I will give you
 some general instructions which apply in every civil case – for example,
 instructions about burden of proof and insights that may help you judge the
 believability of witnesses. Then I will give you specific rules of law that apply
 to this case. And finally, I will explain the procedures you should follow in your
 deliberations, and the possible verdicts you may return. You will be allowed to
 take these instructions with you to the jury deliberation room, so you don’t
 need to take notes as I read them to you.




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                     INSTRUCTION NO. 2
     PURPOSE OF JURY AND DUTY TO FOLLOW INSTRUCTIONS

       These instructions contain the law that you must use in deciding the
 case. No single instruction states all the applicable law. All the instructions
 must be read and considered together.

         You, as jurors, are the judges of the facts. But in determining what
 actually happened – that is, in reaching your decision as to what the facts are
 – it is your sworn duty to follow all of the rules of law that I explain to you.

        You must not be concerned with the wisdom of any rule of law.
 Regardless of any opinion you may have as to what the law should be, it would
 be a violation of your sworn duty if you were to base a verdict on any other view
 of the law other than what is provided in the instructions I give you.

        By these instructions, the Court does not express any opinions as to what
 has or has not been proven in the case, or to what are or are not the facts of the
 case, except for the stipulations agreed to by the parties. And nothing in these
 instructions or in any verdict form or special interrogatories prepared for your
 use is meant to suggest or convey a verdict the Court thinks you should find.
 What verdict you reach shall be your sole prerogative and duty. Indeed, I have
 no opinion one way or the other regarding what verdict you reach.




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                        INSTRUCTION NO. 3
                ALL PERSONS EQUAL BEFORE THE LAW

        You should consider and decide this case as a dispute between persons
 of equal standing in the community, of equal worth, and holding the same or
 similar stations in life. A public entity, such as Defendant Colorado
 Department of Corrections, is entitled to the same fair trial as a private
 individual. A formerly incarcerated person, such as Plaintiff Jason Brooks, is
 entitled to the same fair trial as an individual who was never incarcerated. All
 persons, including Plaintiff and the Defendant, stand equal before the law, and
 are to be treated as equals.




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                      INSTRUCTION NO. 4
                    BURDEN OF PROOF AND
           PREPONDERANCE OF THE EVIDENCE – DEFINED

      The Plaintiff, Jason Brooks, has the burden of proving his claim by a
 preponderance of the evidence.

        To prove something by a “preponderance of the evidence” means to prove
 that it is more probably true than not.

       “Burden of proof” means the obligation that party has to prove their
 claim by a preponderance of the evidence. The party with the burden of proof
 can use evidence produced by any party to persuade you.

       If a party fails to meet their burden of proof or if the evidence weighs so
 evenly that you are unable to say there is a preponderance on either side, you
 must reject that claim.

        This means that no matter who produces the evidence, when you
 consider Plaintiff’s claim in light of all the facts, you must believe that claim is
 more probably true than not true in order to find in his favor. To put it
 differently, if you were to put all the evidence in favor of Plaintiff and all the
 evidence in favor of Defendant on opposite sides of a scale, Plaintiff would have
 to make the scale tip to his side. If Plaintiff fails to meet this burden, your
 verdict must be for Defendant.

       In evaluating whether a party has met their burden of proof, you should
 also know the law does not require the parties to call as witnesses all persons
 who may have been present at any time or place involved in the case, or who
 may appear to have some knowledge of the matters at issue. Nor does the law
 require the parties to produce as exhibits all documents or other things
 mentioned in the evidence in the case.




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                            INSTRUCTION NO. 5
                           EVIDENCE – GENERAL

      You must make your decision based only on the evidence the parties
 presented to you during the trial. That evidence consists of:

 1.   The sworn testimony of witnesses on both direct and cross-examination,
 regardless of who called the witness;

 2.    Documents and other things received into evidence as exhibits; and

 3.    Any facts on which the lawyers agree or which I instruct you to accept as
 true.

      Nothing else is evidence. The following things are not evidence and you
 must not consider them as evidence in deciding the facts of this case:

 1.     Statements and arguments by lawyers are not evidence. The lawyers are
 not witnesses. What they said in their opening statements, during jury
 selection, in closing arguments, and at other times, was intended to help you
 interpret the evidence, but it was not evidence. If the facts as you remember
 them differ from the way the lawyers have described them, your memory of the
 facts controls.

 2.    Questions and objections by the lawyers are not evidence. Lawyers have
 a duty to their clients to object when they believe a question is improper under
 the rules of evidence. You should not be influenced by any objections or by my
 rulings on them.

 3.    Testimony that has been excluded or stricken, or that you have been
 instructed to disregard, is not evidence and must not be considered.

 4.    Anything you may see or hear when court was not in session is not
 evidence, even if what you saw or heard was done or said by one of the parties
 or by one of the witnesses. In addition, as I have previously told you, you are
 not allowed to look at, read, consult, or use any material of any kind, including
 any dictionaries or medical, scientific, technical, religious, or law books, the


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 Internet, or any material of any type or description in connection with your
 jury service. None of these materials are evidence.

 5.     Any notes you have taken during this trial are only aids to your memory.
 The notes are not evidence. If you have not taken notes, you should rely on
 your independent recollection of the evidence and not be unduly influenced by
 the notes of other jurors. Notes are not entitled to any greater weight than the
 recollections or impressions of each juror about the testimony.




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                        INSTRUCTION NO. 6
              EVIDENCE – DIRECT AND CIRCUMSTANTIAL

       You may have heard the phrases “direct evidence” and “circumstantial
 evidence.” Direct evidence is proof that does not require an inference, such as
 the testimony of someone who claims to have personal knowledge of a fact.
 Circumstantial evidence is proof of a fact, or a series of facts, that tends to show
 that some other fact is true.

       As an example, direct evidence that it is raining is testimony from a
 witness who says, “I was outside a minute ago and I saw it raining.”
 Circumstantial evidence that it is raining is the observation of someone
 entering a room carrying a wet umbrella.

       The law makes no distinction between the weight to be given to either
 direct or circumstantial evidence. You should decide how much weight to give
 to any evidence. In reaching your verdict, you should consider all the evidence
 in the case, including the circumstantial evidence.




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                           INSTRUCTION NO. 7
                         EVIDENCE – INFERENCES

       You should use common sense in weighing the evidence and consider the
 evidence in light of your own observations in life. In our lives, we often look at
 one fact and conclude from it that another fact exists. In law we call this
 "inference." A jury is allowed to make reasonable inferences. Any reasonable
 inference you make must be based on the evidence in the case.




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                       INSTRUCTION NO. 8
         EVIDENCE - USE OF DEPOSITIONS AS EVIDENCE OR
           WITNESSES TESTIFYING REMOTELY BY VIDEO

        During the trial, certain testimony has been presented by way of the
  reading of a deposition. The deposition consisted of sworn, recorded answers to
  questions asked of the witness in advance of the trial by attorneys for the
  parties to the case. The testimony of a witness who, for some reason, is not
  present to testify from the witness stand may be presented in this fashion.
  Such testimony is entitled to the same consideration and is to be judged as to
  credibility, and weighed and otherwise considered by you, insofar as possible,
  in the same way as if the witness had been present and had testified from the
  witness stand. You should make no inferences regarding any testimony from
  the deposition that was not presented.

         Further, some witnesses testified live by videoconference from a remote
  location. Such testimony is entitled to the same consideration and is to be
  judged as to credibility, and weighed and otherwise considered by you, insofar
  as possible, in the same way as if the witness had been present and had
  testified from the witness stand. You should make no inferences from the fact
  the witness testified under oath by videoconference from a remote location
  rather than in person.




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                        INSTRUCTION NO. 9
                HIGHLIGHTED OR REDACTED EXHIBITS

      The lawyers may have highlighted certain parts of some exhibits.
  However, it is for you to determine the significance of the highlighted parts.

        Also, the lawyers may have redacted (blacked out) portions of some
  exhibits. Those redactions are appropriate and are allowed by applicable law
  or rules. You should make no inferences based on any redactions you see in the
  exhibits.




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                          INSTRUCTION NO. 10
                   EVIDENCE - DEMONSTRATIVE EXHIBITS

         Certain timelines, diagrams, photographs and calculations may have
  been shown to you. Those are used for convenience and to help explain the facts
  of the case. They are not themselves evidence or proof of any facts.




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                         INSTRUCTION NO. 11
            EVIDENCE - CHARTS AND SUMMARIES IN EVIDENCE

         Certain charts and summaries may have been received into evidence to
  illustrate information brought out in the trial. The Court has admitted these
  charts and summaries, if any, in place of the underlying documents they
  represent in order to save time and avoid unnecessary inconvenience.




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                             INSTRUCTION NO. 12
                             EXPERT WITNESSES

         The rules of evidence ordinarily do not permit witnesses to testify as to
  their own opinions or their own conclusions about important questions in a
  trial. An exception to this rule exists as to those witnesses who are described
  as "expert witnesses." An "expert witness" is someone who, by education,
  background, training, or experience, may have become knowledgeable in some
  technical, scientific, or very specialized area.

        If such knowledge or experience may be of assistance to you in
  understanding some of the evidence or in determining a fact, an "expert
  witness" in that area may state an opinion as to a matter in which they claim
  to be an expert.

        You should consider each expert opinion received in evidence in this case
  and give it such weight as you may think it deserves. You should judge expert
  testimony just as you would judge any other testimony. If you should decide
  that the opinion of an expert witness is not based upon sufficient education or
  experience, or if you should conclude that the reasons given in support of the
  opinion are not sound, or if you should conclude that the opinion is outweighed
  by other evidence, including that of other "expert witnesses," you may
  disregard the opinion in part or in its entirety.




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                       INSTRUCTION NO. 13
              DETERMINING CREDIBILITY OF WITNESSES

         You are the sole judges of the credibility of the witnesses and the weight
  to be given their testimony. You should take into consideration their means of
  knowledge, strength of memory and opportunities for observation; the
  reasonableness or unreasonableness of their testimony; the consistency or lack
  of consistency in their testimony; their motives; whether their testimony has
  been contradicted or supported by other evidence; their bias, prejudice or
  interest, if any; their manner or demeanor upon the witness stand; and all
  other facts and circumstances shown by the evidence which affect the
  credibility of the witnesses.

        Based upon these considerations, you may believe all, part, or none of
  the testimony of a witness.

        Further, a witness may be discredited or impeached by contradictory
  evidence or inconsistent conduct, or by evidence that at other times the witness
  has made material statements, under oath or otherwise, which are
  inconsistent with the present testimony of the witness, or by specific acts or
  wrongdoing of the witness. If you believe that any witness has been impeached
  or discredited, you are free to give the testimony of that witness the credit you
  believe it deserves.




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                        INSTRUCTION NO. 14
                  EVIDENCE – NUMBER OF WITNESSES

       The weight of evidence is not necessarily determined by the number of
  witnesses testifying to a particular fact. You may find the testimony of one
  witness or a few witnesses more persuasive than the testimony of a larger
  number. You need not accept the testimony of the larger number of witnesses.




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                            INSTRUCTION NO. 15
                                SYMPATHY

       You must not be influenced by sympathy, bias or prejudice for or against
  any party in this case.




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                           INSTRUCTION NO. 16
                              SPECULATION

        Any finding of fact you make must be based on probabilities, not
  possibilities. You should not guess or speculate about a fact.




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                           INSTRUCTION NO. 17
                         STATEMENT OF THE CASE

         The Court will now explain the claims and defenses of each party to the
  case and the law governing the case. Please pay close attention to these
  instructions. These instructions include both general instructions and
  instructions specific to the claims and defenses in this case. You must consider
  all the general and specific instructions together. You must all agree on your
  verdict, applying the law, as you are now instructed, to the facts as you find
  them to be.

        The parties to this case are: Jason Brooks, the Plaintiff. And the
  Colorado Department of Corrections, the Defendant.

         Mr. Brooks brings a single claim against the Colorado Department of
  Corrections (sometimes referred to as CDOC) under Title II of the Americans
  with Disabilities Act (ADA) for intentionally discriminating against him in
  failing to provide a reasonable accommodation for his disability. Mr. Brooks
  has a severe and incurable case of ulcerative colitis, which qualifies as a
  disability under the ADA. Even when reasonably managed, Mr. Brooks says
  that his condition causes him intense pain from the sudden onset of fecal
  urgency, often resulting in fecal incontinence, and can require him to use the
  bathroom upwards of fifteen times a day. Mr. Brooks claims that, for nearly
  five years, he tried to obtain reasonable accommodations from the Department
  of Corrections to receive his prison meals despite the unpredictable symptoms
  of his condition.

          Mr. Brooks claims that the Department of Corrections violated the ADA
  by intentionally and repeatedly failing to provide him a reasonable
  accommodation for his ulcerative colitis and instead offering him an adult
  undergarment. Specifically, Mr. Brooks claims that (i) the Department of
  Corrections acted with personal ill will or animosity towards him; (ii) the
  Department of Corrections knew a harm to his federally protected rights under
  the ADA was substantially likely and it failed to act upon that likelihood; and
  (iii) the Department of Corrections was on notice that its failure to provide an
  accommodation to him might violate Title II of the ADA and intentionally
  opted to provide a lesser accommodation. Mr. Brooks says that the Department
  of Corrections intentional discrimination caused him to: (i) unnecessarily
  endure pain attempting to get his meals at the chow hall while trying to
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  withhold the onset of bouts of fecal urgency; (ii) defecate on himself if he could
  not withhold that urgency; and (iii) miss meals entirely. As a result of having
  to choose between these options, Mr. Brooks missed hundreds of meals while
  incarcerated at the Fremont Correctional Facility—including at least 91 days
  on which he missed all three of his meals.

        In its defense, the Colorado Department of Corrections asserts that Mr.
  Brooks cannot establish a violation of the ADA for a number of reasons. First,
  the particular proposed accommodation sought by Mr. Brooks was not
  necessary to accommodate his disability. To the contrary, at the time Mr.
  Brooks requested an accommodation in spring and fall 2013, his condition was
  well-managed, he reported feeling better than he had in years, and his weight
  had rebounded and remained stable and healthy since transferring to Fremont
  in early 2012 and receiving appropriate care. The only indications that the
  proposed accommodation was necessary were Mr. Brooks’ own self-reports,
  which were inconsistent with the evidence that he was in a good health
  condition with a stable and healthy weight.

        Second, even if additional accommodation was necessary to address Mr.
  Brooks’ disability, CDOC offered to make reasonable accommodations to
  provide him with access to meals while incarcerated. CDOC manages
  numerous offenders with ulcerative colitis and other incontinence issues
  through the issuance of adult undergarments, as well as treatment plans
  determined by medical staff. CDOC argues that it offered to reasonably
  accommodate Mr. Brooks’ alleged self-reported incontinence by providing him
  with adult undergarments, which would have allowed him to access meals
  without fear that he might have an embarrassing accident. Mr. Brooks,
  however, refused this offered accommodation. CDOC contends that Mr. Brooks
  may not agree that the undergarments were a reasonable accommodation, but
  undergarments were an appropriate and reasonable accommodation that have
  been provided to numerous incarcerated persons without objection.

        Further, CDOC contends that there is no evidence that it intentionally
  discriminated against Mr. Brooks. In response to his request for the
  accommodation of a medical pass to allow him to access meals with the first
  chow pull, he was referred to the appropriate individuals in clinical services,
  his request was evaluated based on his medical condition and health status at
  that time, and it was denied based on the assessment that his medical
  condition and health status did not meet the criteria for such a pass. CDOC
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  argues that because this assessment was appropriate and undertaken in good
  faith, the denial of Mr. Brooks’ request cannot constitute intentional
  discrimination regardless of whether he disagrees and believes he needed such
  a medical pass. Finally, CDOC argues that Mr. Brooks refused to accept a
  reasonable accommodation, which defeats his ADA claim.

        It is your responsibility to decide whether Mr. Brooks has proven his
  claims against the Colorado Department of Corrections by a preponderance of
  the evidence, as that standard is defined in these instructions.

       These are the issues you are to decide.




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                              INSTRUCTION NO. 18
                              STIPULATED FACTS

        The parties have stipulated or agreed to the facts listed below. You
  must now treat each of these facts as having been proved for the purpose
  of this case.

       1. Mr. Brooks suffers from ulcerative colitis, a chronic autoimmune
          disease of the large intestine.

       2. Mr. Brooks’ ulcerative colitis constitutes a disability under the
          Americans with Disabilities Act.

       3. Defendant Colorado Department of Corrections is a public entity
          covered by the Americans with Disabilities Act.

       4. At all times relevant to the subject matter of this litigation, Mr.
          Brooks was a citizen of the United States of America and domiciled in
          the State of Colorado.

       5. At all times relevant to the subject matter of this litigation, Mr.
          Brooks was incarcerated within the Colorado Department of
          Corrections system.

       6. At all times relevant to the subject matter of this litigation, the
          Department of Corrections was responsible for the provision of
          medical services and reasonable accommodations to incarcerated
          persons with disabilities under the ADA.




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                           INSTRUCTION NO. 19
                       TITLE II – STATUTE INVOLVED

         Title II of the ADA makes it illegal for a public entity to discriminate
  against a qualified individual with a disability in the provision of government
  programs, activities, and services. State prisons are public entities for purposes
  of Title II of the ADA. The ADA protects qualified individuals with disabilities
  who, with or without reasonable modifications to rules, policies, or practices
  meet the essential eligibility requirements for the receipt of services or
  participation in programs or activities provided by a public entity. The law
  places an affirmative obligation on public entities to reasonably accommodate
  qualified individuals with disabilities to allow them to participate in its
  programs and services.




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                        INSTRUCTION NO. 20
       CLAIM 1: TITLE II – FAILURE TO PROVIDE REASONABLE
           ACCOMMODATION - ELEMENTS OF LIABILITY

        To establish a Title II violation under a reasonable accommodation
  theory, Mr. Brooks must prove each of the following by a preponderance of the
  evidence:

       1. He is a qualified individual with a disability;

       2. He was excluded from participation in, or denied the benefits of, a
          service, program, or activity offered by the Colorado Department of
          Corrections;

       3. The exclusion or denial was because of Mr. Brooks’ disability; and,

       4. The Colorado Department of Corrections’ discrimination against Mr.
          Brooks was intentional.

       If you find Mr. Brooks failed to prove one or more of these elements by a
  preponderance of the evidence, then you must return a verdict for the Colorado
  Department of Corrections.

        If, on the other hand, you find Mr. Brooks has proven all four of these
  elements by a preponderance of the evidence, then you must return a verdict
  for Mr. Brooks and against the Colorado Department of Corrections.




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                      INSTRUCTION NO. 21
              REASONABLE ACCOMMODATION – DEFINED

        A public entity shall operate each service, program, or activity so that
  the service, program, or activity, when viewed in its entirety, is readily
  accessible to and usable by individuals with disabilities.

         A reasonable accommodation to a service, program, or benefit under Title
  II of the ADA is one that affords the disabled person meaningful access to the
  service, program, or benefit. Meaningful access and the question of whether an
  accommodation is reasonable in this case must be assessed in light of the
  prison setting—prison officials have the obligation to consider security and
  other factors unique to the prison environment in their decision-making and
  they are afforded considerable discretion to do so.

       A public entity is not required to provide the disabled person with the
  accommodation of the person’s choice or an accommodation that would
  fundamentally alter the nature of the service, program, or benefit.




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                        INSTRUCTION NO. 22
               INTENTIONAL DISCRIMINATION – DEFINED

         Intentional discrimination does not require a showing of personal ill will
  or animosity toward the disabled person. Rather, intentional discrimination
  may be inferred from a defendant’s deliberate indifference to the strong
  likelihood that pursuit of its questioned policies will likely result in a violation
  of the plaintiff’s federally protected rights.

        Deliberate indifference requires both:

        1. knowledge that a harm to a federally protected right is substantially
           likely, and,

        2. a failure to act upon that likelihood.

         Deliberate indifference requires actual knowledge; allegations that a
  defendant “would have” or “should have” known will not satisfy the knowledge
  prong (number 1, above) of deliberate indifference A factfinder may conclude
  that a defendant knew a harm to a federally protected right was substantially
  likely from the very fact that the risk was obvious. Evidence of obviousness
  may include showing the risk of harm to the federally protected right was
  longstanding, pervasive, well-documented, or expressly noted by prison
  officials in the past, and the circumstances suggest that the public entity had
  been exposed to information concerning the risk and thus must have known
  about it.

         A failure to act (number 2, above) is conduct that is more than negligent
  and involves an element of deliberateness. But a public entity does not “act” by
  offering or providing just any accommodation— it must consider the particular
  individual's need when conducting its investigation into what accommodations
  are reasonable.




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                     INSTRUCTION NO. 23
          RESPONDEAT SUPERIOR LIABILITY – DEFINITION

        Under the doctrine of respondeat superior, an employer is liable for the
  acts and omissions of its employees while acting within the scope of their
  employment.




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                         INSTRUCTION NO. 24
                     DAMAGES NOT TO BE INFERRED

       I will now instruct you on the law relating to damages.

         The fact that an instruction on measure of damages is given to you does
  not mean the Court is instructing you to award or not award damages. The
  question of whether or not damages are to be awarded is a question for the
  jury's consideration.




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                       INSTRUCTION NO. 25
                 DAMAGES – COMPENSATORY DAMAGES

        If you find in favor of Mr. Brooks, then you must determine his damages
  proximately caused by the Colorado Department of Corrections. Mr. Brooks
  has the burden of proving damages by a preponderance of the evidence.
  Damages means the amount of money that will reasonably and fairly
  compensate Mr. Brooks for the Colorado Department of Corrections’
  intentional failure to reasonably accommodate his disability. Damages may not
  be based on speculation or sympathy. They must be based on the evidence
  presented at trial and only that evidence.

       You should consider the following types of compensatory damages:

       1. The physical harm to Mr. Brooks, including ill health, physical pain,
          disability, disfigurement, or discomfort, and any such physical pain,
          disability, and discomfort which Mr. Brooks will, with reasonable
          certainty, suffer in the future.

       2. The reasonable expense of medical or psychological care, treatment,
          and services required and received by Mr. Brooks in connection with
          his physical and psychological injuries, and the expenses for medical
          or psychological care that will be reasonably incurred in the future.

       3. The extent and duration of the injuries, including their continuation
          into the future.

       4. Any mental or emotional injury suffered while in custody but only if
          there has been a prior showing by Mr. Brooks of more than a minimal
          physical injury.

        No evidence of the dollar value of physical, mental, or emotional injury
  has been or needs to be introduced. There is no exact standard for setting the
  damages to be awarded on account of these factors. You are to determine an
  amount that will fairly compensate Mr. Brooks for the injuries he sustained.




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                          INSTRUCTION NO. 26
                     DEFINITION – PROXIMATE CAUSE

        A proximate cause of damages is that which, in a natural and continuous
  sequence, produces the damages, and without which the damages would not
  have occurred. It need not be the only cause, the last cause, nor the nearest
  cause. It is sufficient if it occurs with some other cause acting at the same time
  which causes the damages.




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                      INSTRUCTION NO. 27
           UNCERTAINTY AS TO THE AMOUNT OF DAMAGES

        Difficulty or uncertainty in determining the precise amount of any
  damages does not prevent you from deciding an amount. In that circumstance,
  you should use your best judgment based on the evidence.

      On the other hand, damages may not be awarded where the fact of
  damages, as opposed to the amount, is uncertain.




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                              INSTRUCTION NO. 28
                              NOMINAL DAMAGES

        If you return a verdict for the Plaintiff, but find he has failed to prove he
  suffered any damages, then you must award the Plaintiff the nominal amount
  of $1.00.




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                        INSTRUCTION NO. 29
               NO CONSIDERATION OF ATTORNEY’S FEES

        If you find for Mr. Brooks, you must not consider any attorney’s fees or
  court costs in deciding the amount of his damages. I will decide the matter of
  attorney’s fees and court costs, if any, later.




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                          INSTRUCTION NO. 30
                       APPLYING LAW TO EVIDENCE

        In your deliberations, your duty is to apply the Court's instructions of
  law to the evidence that you have seen and heard in the courtroom. You are
  not allowed to look at, read, consult, or use any material of any kind, including
  newspapers, magazines, television and radio broadcasts, dictionaries, medical,
  scientific, technical, religious, or law books or materials, or the Internet in
  connection with your jury service. I want to emphasize that you must not seek
  or receive any information about this case from the Internet, which includes
  all social networking, Google, Wikipedia, Twitter, Facebook, blogs, and any
  other website. You are not allowed to do research of any kind about this case.

        Do not use information from any other source concerning the facts or the
  law applicable to this case other than the evidence presented and the
  instructions that I give you. Do not do your own investigation about this case.
  You are not allowed to visit any places mentioned in the evidence. If this is an
  area that you normally go through, you should try to take an alternate route.
  If you are not able to take an alternate route, you should not gather any
  information from that location.




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                            INSTRUCTION NO. 31
                           DUTIES UPON RETIRING

         When I finish reading these instructions, the Court Security Officer will
  be sworn and will escort you to the jury room and will give you the original jury
  instructions and the original verdict forms. Any exhibits admitted into
  evidence will also be placed in the jury room for your review. You will be
  allowed to take your notes with you and your copy of the jury instructions that
  I have just read. The original of the jury instructions and the exhibits are a
  part of the court record. Do not place any marks or notes on them. Your copy
  of the instructions may be marked or used in any way you see fit.

        When you go to the jury room, you should first select a foreperson, who
  will help to guide your deliberations and will speak for you here in the
  courtroom. The second thing you should do is review the instructions in their
  entirety before beginning your deliberations. Not only will your deliberations
  be more productive if you understand the legal principles upon which your
  verdict must be based, but for your verdict to be valid, you must follow the
  instructions throughout your deliberations. Remember, you are the judges of
  the facts, but you are bound by your oath to follow the law stated in the
  instructions.

        You may deliberate only while all jurors are present together in the jury
  room. You must suspend your deliberations until and unless you are all present
  together in the jury room.

         It is your duty to find the facts from all the evidence in the case. To those
  facts, you must apply and follow the laws contained in these instructions
  whether you agree with them or not. Your decision is called a "verdict" and is
  reached by applying those laws to the facts as you find them. You must not be
  influenced by any personal likes or dislikes, opinions, prejudices, or
  sympathies when reaching your verdict.

        You must follow all of these instructions and not single out some and
  ignore others; they are all equally important.

        Your deliberations will be secret. You will never have to explain your
  verdict to anyone.


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        Any verdict you reach must represent the collective judgment of the jury.
  In order to return a verdict, it is necessary that each juror agree to it. In other
  words, your verdict must be unanimous.

         Your verdict must be based solely on the evidence received in the case.
  Nothing you have seen or read outside of court may be considered. Nothing
  that I have said or done during the course of this trial is intended, in any way,
  to suggest to you somehow what I think your verdict should be. Nothing said
  in these instructions and nothing in any verdict form or special interrogatories,
  which have been prepared for your convenience, is to suggest or convey to you
  in any way what verdict I think you should return. What the verdict shall be
  is your exclusive duty and responsibility. As I have told you many times, you
  are the sole judges of the evidence and the facts.

        This is an important case. If you should fail to agree upon a verdict, the
  case is left open and it must be tried again. Obviously, another trial would
  require the parties to make another large investment of time and effort, and
  there is no reason to believe that the case can be tried again by either side
  better or more exhaustively than it has been tried before you.

        It is your duty, as jurors, to consult with one another and deliberate with
  a view toward reaching an agreement, if you can do so without doing violence
  to individual judgment. Each of you must decide the case for yourself, but do
  so only after an impartial consideration of the evidence with your fellow jurors.
  In the course of your deliberations do not hesitate to reexamine your own views
  and change your opinion if you are convinced it is erroneous. But do not
  surrender your honest conviction as to the weight or effect of evidence solely
  because of the opinion of your fellow jurors, or for the mere purpose of
  returning a verdict.

        A Verdict Form has been prepared to help guide you through your
  deliberations. This form contains questions and directions for answering them.
  In answering these questions, you must apply the law in these instructions to
  the facts that were proved by the evidence in this case. You will note that the
  Verdict Form includes a question which calls for a "yes" or "no" answer. The
  answer to the question must be the unanimous answer of the jury. Your
  foreperson will write the unanimous answer of the jury in the space provided
  for each response. As you will note from the wording of the questions, it may
  not be necessary to consider or answer every question. You will be provided
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  with only one copy of the Verdict Form, so please do not write on the form or
  indicate your answer to any questions on it until you have all agreed on the
  answer.

        Also, as you will note from the wording of the questions in the Verdict
  Form, it may be necessary for you to answer questions in another form called
  Special Interrogatories. Special interrogatories are written questions
  answered by the jury that inform the Court of certain of your factual findings.
  There are issues in this case that present a legal question for me to resolve,
  but I cannot resolve the legal question without first receiving your assistance
  in determining certain facts that are in dispute in this case that have a bearing
  on the legal question. To inform me of your factual findings, you will complete
  answers to these special interrogatories.

        Your answer to these Special Interrogatories must be based solely on the
  evidence received during trial and on the law that I have given to you in my
  instructions and in the Special Interrogatories. Nothing I have said or done
  was meant to suggest what I think your answers should be to these questions.
  The answers are entirely up to you.

         After you reach a verdict, your foreperson should ensure that the Verdict
  Form is complete and then you each must sign the Verdict Form and the form
  must be dated. Please double-check that the form has been filled out in its
  entirety and signed and dated. The foreperson should then advise the Court
  Security Officer that you have reached a verdict, but do not tell the Court
  Security Officer what your verdict is. The Court Security Officer will then
  inform me that you have reached a verdict. The foreperson should remain in
  possession of the Verdict Form until you return to the courtroom and I request
  that it be given to me.




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                       INSTRUCTION NO. 32
                  COMMUNICATING WITH THE COURT

        If it becomes necessary during your deliberations to communicate
  with me, you may send a folded note through the Court Security Officer,
  signed by one of you. Do not disclose the content of your note to the Court
  Security Officer. No member of the jury should hereafter attempt to
  communicate with me except by signed writing and I will communicate
  with the jury on anything concerning the case only in writing, or orally here
  in open court. You are not to tell anyone – including me – how the jury
  stands, numerically or otherwise, until you have reached a unanimous
  verdict and I have discharged you.

        If you send a note to me containing a question or request for further
  direction, please bear in mind that responses take time and effort. Before
  giving you an answer or direction, I must first notify the attorneys and
  bring them back to the court. I must confer with them, listen to their
  arguments, research the legal authorities, if necessary, and reduce the
  answer or direction to writing.

       There may be questions that, under the law, I am not permitted to
  answer for you. If it is improper for me to answer the question, I will tell
  you that. Please do not speculate about what the answer to your question
  might be or why I am not able to answer a particular question.




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